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                 Exhibit 1
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³$7)´DQGKDYHEHHQVRHPSOR\HGVLQFH,DPFXUUHQWO\DVVLJQHGWRWKH%RVWRQ)LHOG

'LYLVLRQ¶V%ULGJHZDWHU)LHOG2IILFHLQ%ULGJHZDWHU0DVVDFKXVHWWVDQGZDVSUHYLRXVO\DVVLJQHG

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\HDUV'XULQJWKLVWLPH,VSHQWDSSUR[LPDWHO\RQH\HDUDVDGHWHFWLYHZKHUH,LQYHVWLJDWHGYDULRXV

RIIHQVHV LQFOXGLQJ QDUFRWLFV RIIHQVHV DQG UHFHLYHG WUDLQLQJ LQ FRQGXFWLQJ DGYDQFHG FULPLQDO

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KDYH EHFRPH IDPLOLDU ZLWK WKH KDELWV PHWKRGV URXWLQHV SUDFWLFHV DQG SURFHGXUHV FRPPRQO\

HPSOR\HGE\SHUVRQVHQJDJHGLQWKHXVHDQGWUDIILFNLQJRILOOHJDOILUHDUPV,KDYHEHHQWKHDIILDQW

RQQXPHURXVDIILGDYLWVLQVXSSRUWRIIHGHUDODQGVWDWHVHDUFKZDUUDQWVDUUHVWZDUUDQWVDQGRWKHU

DSSOLFDWLRQV,KDYHSDUWLFLSDWHGLQDQGSHUIRUPHGVXUYHLOODQFHDQGPDGHDUUHVWVRIILUHDUPDQG

QDUFRWLFVWUDIILFNHUVZKRXWLOL]HWKHLUHOHFWURQLFGHYLFHVWRIXUWKHUWKHLULOOHJDODFWLYLW\'XULQJWKH

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FRQILGHQWLDOLQIRUPDQWVDQGRWKHUSROLFHRIILFHUVUHJDUGLQJWKHLOOHJDOWUDIILFNLQJRIILUHDUPVDQG

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VLWHLQIRUPDWLRQIRURQHSKRQHQXPEHU,QSDUWLFXODU

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           D ,QIRUPDWLRQ DVVRFLDWHG ZLWK D FHOOXODU WHOHSKRQH DVVLJQHG FDOO QXPEHU 

                ³7DUJHW 3KRQH ´ WKDW LV VWRUHG DW SUHPLVHV FRQWUROOHGE\ 70RELOH 86

               ,QF ORFDWHG DW  6\OYDQ :D\ 3DUVLSSDQ\ 1HZ -HUVH\  IRU D SHULRG RI

               -DQXDU\WKURXJK)HEUXDU\

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GRFXPHQWV DQG LQIRUPDWLRQ SURYLGHG WR PH E\ RIILFHUV RI WKH %URFNWRQ 3ROLFH 'HSDUWPHQW

³%3'´ 0DVVDFKXVHWWV 6WDWH 3ROLFH ³063´ DQG 3O\PRXWK &RXQW\ 6KHULII 'HSDUWPHQW

³3&6'´7KLVDIILGDYLWLVVXEPLWWHGIRUWKHOLPLWHGSXUSRVHRIHVWDEOLVKLQJSUREDEOHFDXVHIRU

WKH DERYHUHIHUHQFHG VHDUFK ZDUUDQW DSSOLFDWLRQV DQG WKHUHIRUH GRHV QRW VHW IRUWK DOO RI WKH

LQIRUPDWLRQWKDW,DQGRWKHUODZHQIRUFHPHQWSHUVRQQHOKDYHREWDLQHGGXULQJWKHFRXUVHRIWKLV

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WRJUDESKRQHVDQGRWKHULWHPVIURPDFDELQHWDQGSODFHGWKHPLQWRDEODFNGXIIHOEDJDQGDSODVWLF

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PDUNLQJRQWKHOHIWEUHDVWEODFNSDQWVZLWKDZKLWHPDUNLQJRQWKHOHIWWKLJKZKLWHJORYHVZLWK

EODFNDFFHQWVDQGEODFNVQHDNHUVZLWKDGLVWLQFWVWULSRIZKLWHDORQJWKHVROHV7KLVILUVWLQGLYLGXDO

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EOXHMHDQVZLWKGLVWLQFWZDVKFRORULQJSDWWHUQVJORYHVDQGGLVWLQFWGDUNWH[WXUHGJUH\VQHDNHUV

ZLWKEODFNDURXQGWKHODFHVDUHD7KHVHFRQGLQGLYLGXDOFDQEHREVHUYHGKROGLQJZKDWDSSHDUVWR

EHDVLOYHURUOLJKWFRORUHGVPDOOIUDPHILUHDUPLQKLVULJKWKDQGDQGDEODFNGXIIHOEDJLQKLVOHIW
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7KLVVHFRQGLQGLYLGXDOKDVEHHQLGHQWLILHGWREH67(3+$15266(567(:$57

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ZDVLQWKHSURFHVVRIRSHQLQJWKHUHDUGRRU7KHWKLUGLQGLYLGXDOZDVGUHVVHGLQDGDUNFRORUHG

KRRGLHVZHDWVKLUWGDUNSDQWVDQGZKLWHVQHDNHUV7KLVWKLUGLQGLYLGXDOKDVEHHQLGHQWLILHGWREH

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UHDU URRP DQG DVVLVWHG ZLWK WDNLQJ WKH LWHPV IURP WKH ODUJH FDELQHW  '$5,86 &$57(5 DQG

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   ,Q WRWDO WKH UREEHU\ ODVWHG DERXW  PLQXWHV DQG UHVXOWHG LQ WKH WKHIW RI DSSUR[LPDWHO\

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HQWLW\HQJDJHGLQLQWHUVWDWHFRPPHUFH,WLVP\XQGHUVWDQGLQJWKDW([SUHVV6WRUHVLVDIUDQFKLVHH

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          Case 1:19-mj-04207-DHH Document 2-2 Filed 03/19/19 Page 10 of 51



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    5HDUIORRUFHQWHU                   &OHDU WUDVK EDJ ZLWK UHG SXOO WRS FRQWDLQLQJ PRUH
                                          HOHFWURQLFV
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    $OVR LQ WKH YHKLFOH LQYHVWLJDWRUV ORFDWHG D OHWWHU IURP &DSLWDO 2QH DGGUHVVHG WR

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DPPXQLWLRQ ZHUH LQ WKH PDJD]LQH DQG RQH URXQG ZDV LQ WKH FKDPEHU  , KDYH UHYLHZHG

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EOXH VZHDWSDQWV FRQVLVWHQW ZLWK WKH FORWKLQJ ZRUQ E\ WKH WKLUG LQGLYLGXDO LQ WKH VWRUH YLGHR

0$57,1DOVRZDVQRWZHDULQJIRRWZHDUDQGODWHUFRQILUPHGWKDWWKHZKLWH1LNHVQHDNHUVIRXQG

QHDU WKH DEDQGRQHG ZKLWH 0DOLEX ZHUH KLV VQHDNHUV  7KH FORWKLQJ ZRUQ E\ 0$57,1 DQG WKH

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            Case 1:19-mj-04207-DHH Document 2-2 Filed 03/19/19 Page 17 of 51



    3KRWRJUDSKVRIWKHQDY\VZHDWVKLUWDQGQDY\SDQWVZRUQE\'(11,60$57,1DWWKHWLPH

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ZLWK %URFNWRQ 3' RIILFHUV  7URRSHU 5HVHQGHV REVHUYHG DQ LQGLYLGXDO ODWHU LGHQWLILHG WR EH

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        Case 1:19-mj-04207-DHH Document 2-2 Filed 03/19/19 Page 18 of 51



LGHQWLFDOWRWKRVHZRUQE\WKHVHFRQGLQGLYLGXDOLQWKHVWRUHYLGHR$GGLWLRQDOO\LQYHVWLJDWRUV

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        Case 1:19-mj-04207-DHH Document 2-2 Filed 03/19/19 Page 19 of 51



   0$57,1VWDWHGWKDWWKHLQGLYLGXDOODWHULGHQWLILHGWREH',29$11,&$57(5SURYLGHG

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SROLFHFUXLVHUV0$57,1GHVFULEHGKHDULQJWRJXQVKRWV0$57,1ZDVQRWVXUHLI5266(5

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VDOHVSHUVRQQHOKHORRNHGGRZQDWZKDWDSSHDUVWREHDFHOOXODUSKRQHLQKLVULJKWKDQGDQGSXWLW

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DFWLYLW\DQGWKHVXEVHTXHQWUREEHU\DERXWKRXUVODWHUWKDWWKLVILIWKLQGLYLGXDOFDVHGWKH70RELOH

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DQG FHOO VLWH ORFDWLRQ LQIRUPDWLRQ IRU D SUHSDLG 7UDF)RQH ZRXOG LQ IDFW EH VWRUHG NHSW DQG

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         Case 1:19-mj-04207-DHH Document 2-2 Filed 03/19/19 Page 24 of 51



SKRQHRQWKHGD\RI-DQXDU\5HYLHZRIWKRVHUHFRUGVVKRZHGFRPPXQLFDWLRQVEHWZHHQ

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        Case 1:19-mj-04207-DHH Document 2-2 Filed 03/19/19 Page 25 of 51



   $GGLWLRQDOO\ DFFRUGLQJ WR WKH FDOO GHWDLO UHFRUGV 7DUJHW 3KRQH  KDV QRW PDGH DQ\

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DORQJ WKH SURSHUW\ OLQH DQG WKHUH LV D JUHHQ WHQW WR WKH ULJKW RI WKH VWUXFWXUH DW WKH HQG RI WKH

GULYHZD\&DUO$YHQXHLVIXUWKHUGHVFULEHGLQ$WWDFKPHQW$DQGDUHFHQWSKRWRJUDSKRI

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WHOHSKRQH DQG LQ VRPH FDVHV WKH ³VHFWRU´ LH IDFHV RI WKH WRZHUV WR ZKLFK WKH WHOHSKRQH

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 $V LV W\SLFDO ZLWK *RRJOH DFFRXQWV WKH 7DUJHW $FFRXQW GHVFULEHG LQ WKLV DIILGDYLW KDV

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DJHQWV,KDYHOHDUQHGWKDW*RRJOHSURYLGHVGR]HQVRIWKHVHVHUYLFHVWR*PDLOXVHUVIRUSHUVRQDO

DQGRU EXVLQHVV FRQYHQLHQFH  7KHVH VHUYLFHV LQFOXGH  &DOHQGDU 3KRWRV DQG 3KRWR DOEXPV

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DSSOLFDWLRQV  7KHVH VHUYLFHV DUH RIWHQ WLPHV GLUHFWO\ DFFHVVLEOH WKURXJK D FXVWRPHU¶V *PDLO

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            GHVNWRSFDOHQGDUDSSOLFDWLRQVVXFKDV0LFURVRIW2XWORRN&DOHQGDULVLQWHJUDWHGZLWK
            RWKHU*RRJOHVHUYLFHVVXFKDV*PDLO)RUH[DPSOHLIDPHVVDJHLQFOXGHVDUHIHUHQFH
            WRDQHYHQWGDWHRUWLPH*PDLOZLOODXWRPDWLFDOO\SURYLGHDQRSWLRQIRUWKHXVHUWRDGG
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            WKLQJVLWDOORZV*PDLOXVHUVWRVHQGHPDLOVWRLQGLYLGXDOVZKRVHFRQWDFWLQIRUPDWLRQ
            KDV EHHQ VDYHG  7KHVH FRQWDFWV FDQ EH ORFDWHG E\ QDPH FDWHJRULHV DQG RWKHU
            LGHQWLILDEOHLQIRUPDWLRQ0DQ\RIWKHFRQWDFWVDXWRPDWLFDOO\SRSXODWHEDVHGRQ*PDLO
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        G *RRJOH0DSVDQG:D]HDUHQDYLJDWLRQDOWRROVWKDWSURYLGHPDSSLQJDQGQDYLJDWLRQ
            VHUYLFHV WR XVHUV  7KHVH DSSOLFDWLRQV DOVR XVH WKH *36 IXQFWLRQDOLW\ RI WKH XVHU¶V
            GHYLFHVWRGHWHUPLQHWKHQDYLJDWLRQGLUHFWLRQV
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        H *RRJOH 3KRWRV DQG 3LFDVD DUH SKRWRJUDSK DQG YLGHR VKDULQJ DQG VWRUDJH VHUYLFHV
            RIIHUHGE\*RRJOH,WDOORZVXQOLPLWHGSKRWRDQGYLGHRVWRUDJHZLWKEDFNXSDELOLW\
            WRFORXGVHUYLFHV/DUJHUSKRWRILOHVDUHVDYHGWR*RRJOH'ULYHZKLFKDVSUHYLRXVO\
            PHQWLRQHGLVOLQNHGWR*PDLO
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        I *RRJOH +DQJRXWV LV DQ LQVWDQW PHVVDJLQJ DQG WH[W PHVVDJLQJ VHUYLFH RIIHUHG E\
            *RRJOH
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      J *RRJOH9RLFHLVDYRLFHRYHU,3DSSOLFDWLRQRIIHUHGE\*RRJOHWKDWSHUPLWVDXVHUWR
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RIPHWDGDWDVXFKDV,3DGGUHVVHVXWLOL]HGE\DXVHUWRDFFHVV*RRJOHDQGJHRORFDWLRQLQIRUPDWLRQ

GHULYHGIURP*36FHOOXODUVLJQDO:L)LVLJQDO%OXHWRRWKFRQQHFWLRQVRIWKHGHYLFHWKURXJKZKLFK

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VWRUHGDQGPDLQWDLQHGE\*RRJOHWKURXJK/RFDWLRQ+LVWRU\)XUWKHUPRUH*RRJOHNHHSVUHFRUGV

WKDWFDQUHYHDO*RRJOHDFFRXQWVDVVRFLDWHGWRRQHDQRWKHUE\YLUWXHRIWKHHOHFWURQLFGHYLFHWKURXJK

ZKLFK WKH DFFRXQWV ZHUH DFFHVVHG VXFK DV WKH VDPH FRPSXWHU RUPRELOH SKRQH 7KLV LQFOXGHV

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WKH ZD\ FRQWHQW LV FUHDWHG DUH D E\SURGXFW RI KRZ WKH VHUYLFHV DUH IDFLOLWDWHG DQG RIIHUHG E\

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DVVRFLDWHGZLWKWKHYDULRXVVHUYLFHVDQGVRIWZDUHWKH\SURYLGH:KHQUHJLVWHULQJIRUPDQ\RIWKH

YDULRXVW\SHVRI*RRJOHDFFRXQWV*RRJOHDVNVVXEVFULEHUVWRSURYLGHEDVLFSHUVRQDOLQIRUPDWLRQ

VXFK DV WKH VXEVFULEHU¶V IXOO QDPH SK\VLFDO DGGUHVV WHOHSKRQH QXPEHUV DOWHUQDWLYH HPDLO

DGGUHVVHVDQGIRUSD\LQJVXEVFULEHUVPHDQVDQGVRXUFHRISD\PHQWLQFOXGLQJDQ\FUHGLWRUEDQN

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DJHQWV WKDW LQGLYLGXDOV UHJXODUO\ XVH WKHVH LQWHJUDWHG VHUYLFHV LQ FRQQHFWLRQ ZLWK WKHLU *PDLO

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*RRJOH*PDLO ORJLQ DQG SDVVZRUG DQG IUHTXHQWO\ DXWRSRSXODWH *PDLO XVHUV RIWHQ XVH WKHVH

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WKDW DOORZVFXVWRPHUV WR VWRUH RSHQHG LQFRPLQJ PDLO DQG VHQW PDLO LQGHILQLWHO\ LIWKH\ FKRRVH

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ERRNV EXGG\ OLVWV SKRWRV ILOHV GDWD &DOHQGDU &RQWDFWV 'RFV DQG 'ULYH  2I SULQFLSDO

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DFFRUGLQJO\ UHDVRQ WR EHOLHYH WKDW QRWLILFDWLRQ RI WKH H[LVWHQFH RI WKH 2UGHU ZLOO VHULRXVO\

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         5HFRUGV DQG LQIRUPDWLRQ DVVRFLDWHG ZLWK WKH  SKRQH QXPEHU ³7DUJHW

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          $VDSSOLFDEOHWRHDFKZDUUDQWWKHSKRQHQXPEHUOLVWHGDERYHLVLQGLYLGXDOO\UHIHUUHGWR

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       7KH 3URYLGHU LV DOVR UHTXLUHG WR GLVFORVH WR WKH JRYHUQPHQW WKH IROORZLQJ LQIRUPDWLRQ

SHUWDLQLQJ WR WKH $FFRXQW DVVRFLDWHG ZLWKWKH7DUJHW 3KRQH OLVWHG LQ $WWDFKPHQW $ IRUWKH

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              LL   $GGUHVVHV LQFOXGLQJ PDLOLQJ DGGUHVVHV UHVLGHQWLDO DGGUHVVHV EXVLQHVV
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             LLL   /RFDODQGORQJGLVWDQFHWHOHSKRQHFRQQHFWLRQUHFRUGV

             LY    5HFRUGVRIVHVVLRQWLPHVDQGGXUDWLRQVDQGWKHWHPSRUDULO\DVVLJQHGQHWZRUN
                     DGGUHVVHV VXFK DV ,QWHUQHW 3URWRFRO ³,3´ DGGUHVVHV DVVRFLDWHG ZLWK WKRVH
                     VHVVLRQV
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              Y    /HQJWKRIVHUYLFHLQFOXGLQJVWDUWGDWHDQGW\SHVRIVHUYLFHXWLOL]HG

             YL    7HOHSKRQH RU LQVWUXPHQW QXPEHUV LQFOXGLQJ 0$& DGGUHVVHV (OHFWURQLF
                     6HULDO 1XPEHUV ³(61´ 0RELOH (OHFWURQLF ,GHQWLW\ 1XPEHUV ³0(,1´
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                     ³0,1´6XEVFULEHU,GHQWLW\0RGXOHV³6,0´0RELOH6XEVFULEHU,QWHJUDWHG
                     6HUYLFHV 'LJLWDO 1HWZRUN 1XPEHU ³06,6'1´ ,QWHUQDWLRQDO 0RELOH
                     6XEVFULEHU ,GHQWLW\ ,GHQWLILHUV ³,06,´ RU ,QWHUQDWLRQDO 0RELOH (TXLSPHQW
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                     3URWRFRO³,3´DGGUHVVDQG
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           YLLL   0HDQV DQG VRXUFH RI SD\PHQW IRU VXFK VHUYLFHLQFOXGLQJ DQ\ FUHGLW FDUG RU
                    EDQNDFFRXQWQXPEHUDQGELOOLQJUHFRUGV
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        E $OO UHFRUGV DQG RWKHU LQIRUPDWLRQ QRW LQFOXGLQJ WKH FRQWHQWV RI FRPPXQLFDWLRQV

            UHODWLQJ WR ZLUH DQG HOHFWURQLF FRPPXQLFDWLRQV VHQW RU UHFHLYHG E\ WKH $FFRXQW

            LQFOXGLQJ

               L   5HFRUGV RI XVHU DFWLYLW\ IRU HDFK FRQQHFWLRQ PDGH WR RU IURP WKH $FFRXQWV
                     LQFOXGLQJ ORJ ILOHV PHVVDJLQJ ORJV WKH GDWH WLPH OHQJWK DQG PHWKRG RI
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                     FRQQHFWLRQV GDWD WUDQVIHU YROXPH XVHU QDPHV DQG VRXUFH DQG GHVWLQDWLRQ
                     ,QWHUQHW3URWRFRODGGUHVVHV
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              LL   ,QIRUPDWLRQ DERXW HDFK FRPPXQLFDWLRQ VHQW RU UHFHLYHG E\ WKH $FFRXQWV
                     LQFOXGLQJ WKH GDWH DQG WLPH RI WKH FRPPXQLFDWLRQ WKH PHWKRG RI
                     FRPPXQLFDWLRQDQGWKHVRXUFHDQGGHVWLQDWLRQRIWKHFRPPXQLFDWLRQVXFKDV
                     VRXUFHDQGGHVWLQDWLRQHPDLODGGUHVVHV,3DGGUHVVHVDQGWHOHSKRQHQXPEHUV
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             LLL   $OO GDWD DERXW ZKLFK ³FHOO WRZHUV´ LH DQWHQQD WRZHUV FRYHULQJ VSHFLILF
                     JHRJUDSKLF DUHDV DQG ³VHFWRUV´ LH IDFHV RI WKH WRZHUV UHFHLYHG D UDGLR
                     VLJQDO IURP HDFK FHOOXODU WHOHSKRQH RU GHYLFH DVVLJQHG WR WKH $FFRXQWV WR
                     LQFOXGHDOOYRLFH606006DQGGDWDDFWLYLW\DQG
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             LY    $OOUHFRUGVFRQWDLQLQJURXQGWULSGLVWDQFHPHDVXUHPHQWVIRUHDFKFRQQHFWLRQ
                     PDGH WR RU IURP WKH $FFRXQWV WR LQFOXGH 1(/26 577 7UXH &DOO
                     0HDVXUHPHQW 'DWD 3&0' UHFRUGV DQG DOO RWKHU UHFRUGV FRQWDLQLQJ WLPLQJ
                     DGYDQFH PHDVXUHPHQWV DQG GLVWDQFHWRWRZHU PHDVXUHPHQWV IRU DOO
                     WHFKQRORJLHV&'0$*608076/7(HWFDQG5HYHDO5HSRUWV
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       $      7KH ORFDWLRQV RI PHHWLQJV DQG RWKHU DVSHFWV RI WKH FRQVSLUDF\ LQFOXGLQJ ZKHUH

                WKH FRQVSLUDF\ ZDV IRUPHG DQG ZDV IXUWKHUHG ZHDSRQV DQG DPPXQLWLRQ ZHUH

                REWDLQHGWKHFULPHFRPPLWWHGDQGZKHUHVXVSHFWVLQWHQGHGWRIOHH

       %      7KHLGHQWLW\ORFDWLRQDQGWUDYHORUKLVWRULFDOZKHUHDERXWVRIDQ\FRQVSLUDWRUVRU

                DVVRFLDWHVDVZHOODVDQ\DFWVWDNHQLQIXUWKHUDQFHRIWKHFULPHVOLVWHGDERYH

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       Case 1:19-mj-04207-DHH Document 2-2 Filed 03/19/19 Page 45 of 51



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             $WWQ*RRJOH/HJDO,QYHVWLJDWLRQV6XSSRUW
             *RRJOH
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             0RXQWDLQ9LHZ&$
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             KWWSVVXSSRUWJRRJOHFRPOHJDOLQYHVWLJDWLRQVFRQWDFW/(56ZHEVLWH
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              *RRJOHZKLFKZLOOLGHQWLI\WKHDFFRXQWVDQGILOHVWREHVHDUFKHGDVGHVFULEHGLQ
              6HFWLRQ,,EHORZ
       %    *RRJOHZLOOWKHQFUHDWHDQH[DFWHOHFWURQLFGXSOLFDWHRIWKHVHDFFRXQWVDQGILOHV
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       '    /DZHQIRUFHPHQWSHUVRQQHOZLOOWKHQVHDUFKWKHDFFRXQWGXSOLFDWHIRUWKHUHFRUGV
              DQGGDWDWREHVHL]HGZKLFKDUHGHVFULEHGLQ6HFWLRQ,,,EHORZ
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              OLPLWDWLRQV,IGDWDZDVFUHDWHGE\*RRJOHDIWHUIRXUWHHQGD\VIURPWKHZDUUDQW
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       VWRUHGKHOGRUPDLQWDLQHGLQVLGHRURXWVLGHRIWKH8QLWHG6WDWHV´see 86&
       LQFOXGLQJ
           7KHFRQWHQWVRIDOOHPDLOZKHWKHUGUDIWGHOHWHGVHQWRUUHFHLYHG
           7KHFRQWHQWVRIDOOWH[WRULQVWDQWPHVVDJHV
           7KHFRQWHQWVRIDOOHOHFWURQLFGDWDILOHVZKHWKHUZRUGSURFHVVLQJVSUHDGVKHHW
              LPDJHYLGHRRUDQ\RWKHUFRQWHQWLQFOXGLQJGDWDILOHVVWRUHGDVHPDLO
              DWWDFKPHQWVDQGILOHVVWRUHGLQ*RRJOH'ULYH
           7KHFRQWHQWVRIDOOFDOHQGDUGDWD
           /LVWVRIIULHQGVEXGGLHVFRQWDFWVRURWKHUVXEVFULEHUVLQFOXGLQJ*RRJOH
              &RQWDFWV
           Location history for all identified/associated Account(s), to include deleted
              information, derived from Global Positioning System (GPS) data, cell site/cell tower
              triangulation precision measurement information such as timing advance or per call
              measurement data, Wi-Fi location information, and Bluetooth location information.
              Such data shall include the GPS coordinates, the dates and times of all location
              recordings, origin of how the location recordings were obtained, and estimated
              radius;
       7.    All photos and videos stored in the Account(s);
       8.    Passwords or other protective devices in place and associated with the Account(s),
              which would permit access to the content stored therein;
       9.    Web search history, including, but not limited to, mobile and desktop browser

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             searches;
      10.   Downloaded, installed, and/or purchased apps along with activity/registration
             information;
      11.   Voice and/or audio activity recordings/captures;
      12.   Google Map locations which are saved and/or frequent locations, favorite and/or
             starred locations including, but not limited to, searches conducted using the Google
             Maps and/or Waze services;
      13.   Google Voice incoming or outgoing phone calls, voicemails, including voicemail
             content and any and all incoming or outgoing text message history, together with the
             content thereof to include SMS, MMS, or any other form of text message
             communication, and any call forwarding numbers and account backup telephone
             numbers;
      14.   Communication including, but not limited to, audio, video, text message and/or
             chat delivered through the Google, Inc. service known as Google Hangouts;
      15.   Posts, status updates, photographs and/or videos that are contained and/or were
             uploaded in the services known as Google Photos, Picasa web albums, Google +, or
             any other service designed to store video, photographs, and/or data, including the
             metadata for each file;
      16.   Electronic files, folders, media, and/or data uploaded and/or contained on the
             service known as Google Drive;
      17.   Contacts stored using the service known as Google Contacts, including any contacts
             stored in the service known as Gmail, and any other service where contact lists are
             maintained;
      18.   Additional accounts linked by cookies.
         5HFRUGVSHUWDLQLQJWRFRPPXQLFDWLRQVEHWZHHQ*RRJOHDQGDQ\SHUVRQUHJDUGLQJ
             WKHVHDFFRXQWVDQGDQ\HPDLODFFRXQWVDVVRFLDWHGZLWKWKRVHDGGUHVVHVLQFOXGLQJ
             FRQWDFWVZLWKVXSSRUWVHUYLFHVDQGUHFRUGVRIDFWLRQVWDNHQ
%   $OOVXEVFULEHUDQGWUDQVDFWLRQDOUHFRUGVIRUWKH7DUJHW$FFRXQWDQGDQ\DVVRFLDWHGHPDLO
      DFFRXQWVLQFOXGLQJ
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                            XWLOL]HG
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                    I     7KHPHDQVDQGVRXUFHRISD\PHQWIRUVXFKVHUYLFHLQFOXGLQJDQ\
                            FUHGLWFDUGRUEDQNDFFRXQWQXPEHUDQG
                    J     7KH,QWHUQHW3URWRFRO³,3´DGGUHVVXVHGE\WKHVXEVFULEHUWR
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                     8VHUFRQQHFWLRQORJVIRUDQ\FRQQHFWLRQVWRRUIURPWKHVHDQGDQ\
                        DVVRFLDWHGHPDLODFFRXQWVLQFOXGLQJ
                        D     &RQQHFWLRQWLPHDQGGDWH
                        E     'LVFRQQHFWWLPHDQGGDWH
                        F     7KH,3DGGUHVVWKDWZDVXVHGZKHQWKHXVHUFRQQHFWHGWRWKH
                                VHUYLFH
                        G     6RXUFHDQGGHVWLQDWLRQRIDQ\HPDLOPHVVDJHVVHQWIURPRU
                                UHFHLYHGE\WKHDFFRXQWDQGWKHGDWHWLPHDQGOHQJWKRIWKH
                                PHVVDJHDQG
                        H     $Q\DGGUHVVWRZKLFKHPDLOZDVRULVWREHIRUZDUGHGIURPWKH
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        FRQVSLUDF\WRFRPPLW+REEV$FWUREEHU\JIHORQLQSRVVHVVLRQRIDILUHDUP
        DQGVSHFLILFDOO\LQFOXGLQJWKRVHUHODWHGWR
         7KHLGHQWLW\RIWKHSHUVRQRUSHUVRQVZKRKDYHRZQHGRURSHUDWHGWKH7DUJHW$FFRXQW
            RUDQ\DVVRFLDWHGHPDLODFFRXQWV

         7KHH[LVWHQFHDQGLGHQWLW\RIDQ\FRFRQVSLUDWRUV

         7KHWUDYHORUZKHUHDERXWVRIWKHSHUVRQRUSHUVRQVZKRKDYHRZQHGRURSHUDWHGWKH
            7DUJHW$FFRXQWVRUDQ\DVVRFLDWHGHPDLODFFRXQWV
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         7KHZKHUHDERXWVRI',29$11,&$57(5
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         &RPPXQLFDWLRQVGLVFXVVLRQSODQQLQJIRUDQGSUHSDUDWLRQRIWKHUREEHU\LQFOXGLQJ
            VHOHFWLRQRIWDUJHWVIDPLOLDULW\ZLWKURDGVDQGPHDQVRIDFFHVVSURFXUHPHQWRI
            WUDQVSRUWDWLRQSURFXUHPHQWRIZHDSRQVDQGDPPXQLWLRQWKHGLVSRVLWLRQDQG
            PRQHWL]DWLRQRIVWROHQLWHPV

         7KH LGHQWLWLHV DOLDVHV DGGUHVVHV HPDLO DGGUHVVHV ZKHUHDERXWV DQG WHOHSKRQH
            QXPEHUVRIFRQVSLUDWRUVDQGRWKHUSHUVRQVIXUWKHULQJWKHFRQVSLUDF\
            
         3RVVHVVLRQRIILUHDUPVDQGDPPXQLWLRQ
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         7KH ORFDWLRQV RI PHHWLQJV DQG RWKHU DVSHFWV RI WKH FRQVSLUDF\ LQFOXGLQJ ZKHUH WKH
            FRQVSLUDF\ZDVIRUPHGDQGZDVIXUWKHUHGZHDSRQVDQGDPPXQLWLRQZHUHREWDLQHG
            WKHFULPHFRPPLWWHGDQGZKHUHVXVSHFWVLQWHQGHGWRIOHH
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       Case 1:19-mj-04207-DHH Document 2-2 Filed 03/19/19 Page 49 of 51
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        7KH PHWKRGV RI FRPPXQLFDWLRQV EHWZHHQ FRQVSLUDWRUV DQGDVVRFLDWHVLQFOXGLQJ WKH
           WHOHSKRQH QXPEHUV PHVVDJLQJ DSSOLFDWLRQV DQG VRFLDO PHGLD DFFRXQWV XVHG E\
           FRQVSLUDWRUV
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       7KHVXEVWDQFHRIFRPPXQLFDWLRQVUHJDUGLQJFULPLQDODFWLYLWLHVLQFOXGLQJGLVFXVVLRQV
           UHJDUGLQJILUHDUPVDPPXQLWLRQUREEHULHVDQGDQ\DFWVRIYLROHQFH
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       7KH LGHQWLW\ ORFDWLRQ DQG WUDYHO RU KLVWRULFDO ZKHUHDERXWV RI DQ\ FRQVSLUDWRUV RU
           DVVRFLDWHVDVZHOODVDQ\DFWVWDNHQLQIXUWKHUDQFHRIWKHFULPHVOLVWHGDERYH
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%    $OORIWKHVXEVFULEHUWUDQVDFWLRQDODQGORJJLQJUHFRUGVGHVFULEHGLQ6HFWLRQ,,%

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)RUWKHSXUSRVHRIWKLVZDUUDQW

       $     ³'DWD´PHDQVDOOLQIRUPDWLRQVWRUHGLQDQ\VWRUDJHIRUPDWDQGIRUDQ\SXUSRVH
               
       %     ³$ UHFRUG´ LV DQ\ FRPPXQLFDWLRQ UHSUHVHQWDWLRQ LQIRUPDWLRQ RU GDWD  $
               ³UHFRUG´PD\EHFRPSULVHGRIOHWWHUVQXPEHUVSLFWXUHVVRXQGVRUV\PEROV
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         Case 1:19-mj-04207-DHH Document 2-2 Filed 03/19/19 Page 50 of 51



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                     &DUO$YHQXH%URFNWRQ0$DQGDQ\DVVRFLDWHGFXUWLODJH

&DUO$YHQXHLVDVLQJOHVWRU\GZHOOLQJZLWKDGULYHZD\WRWKHULJKWRIWKHVWUXFWXUHDQGWKH

QXPEHUV  RQ WKH VWUXFWXUH WR WKHOHIW RI WKH IURQW GRRU IDFLQJ WKH VWUHHW  $ ZRRGIHQFH UXQV

DORQJ WKH SURSHUW\ OLQH DQG WKHUH LV D JUHHQ WHQW WR WKH ULJKW RI WKH VWUXFWXUH DW WKH HQG RI WKH

GULYHZD\$SKRWRJUDSKRI&DUO$YHQXH%URFNWRQ0$IROORZV




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        Case 1:19-mj-04207-DHH Document 2-2 Filed 03/19/19 Page 51 of 51



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                DESCRIPTION OF EVIDENCE TO BE SEARCHED FOR AND SEIZED
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$OOHYLGHQFHLQZKDWHYHUIRUPDQGWDQJLEOHREMHFWVWKDWFRQVWLWXWHHYLGHQFHRULQVWUXPHQWDOLWLHV
RI+REEV$FWUREEHU\DQGFRQVSLUDF\WRFRPPLW+REEV$FWUREEHU\LQYLRODWLRQRI86&
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     %ODFNZLQWHUKDW
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RU RWKHUZLVH FRPPXQLFDWLRQV SODQQLQJ SUHSDUDWLRQ IOLJKW DQG HYDVLRQ IURP SROLFH
SURFXUHPHQW RI ILUHDUPV DQG DPPXQLWLRQ WKH ZKHUHDERXWV RI DQ\ FRQVSLUDWRUV WKH LGHQWLW\ RI
DQ\FRFRQVSLUDWRUVORJERRNVOHGJHUVGRFXPHQWVDQGSKRWRJUDSKVZKLFKUHIOHFWUHODWLRQVKLSV
EHWZHHQ LGHQWLILHG DQGRU XQLGHQWLILHG FRFRQVSLUDWRUV WR LQFOXGH SHUVRQDO WHOHSKRQHDGGUHVV
ERRNVLQFOXGLQJHOHFWURQLFRUJDQL]HUVDQGURORGH[HVDQGILQDQFLDOLQVWUXPHQWVVXFKDVSUHSD\
DQGRU EDQN GHELW FDUGV FUHGLW FDUGV FKHFNERRNV DQG DQ\ RWKHU ILQDQFLDO LQVWUXPHQW XVHG WR
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     5HFRUGV DQG GRFXPHQWV WKDW HVWDEOLVK WKH SHUVRQ RU SHUVRQV ZKR KDYH DFFHVV FRQWURO
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ORJR RQ WKH OHIW EUHDVW JUH\ VZHDWSDQWV ZKLWH VQHDNHUV DQG FHOOXODU SKRQHV ORFDWHG LQ WKH
SUHPLVHVRI&DUO$YHQXH%URFNWRQ0$
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PHPRUDQGD FRUUHVSRQGHQFH GLDULHV PDSV QRWHV DGGUHVV ERRNV GD\ SODQQHUV FDOHQGDUV
DSSRLQWPHQW ERRNV QHZVSDSHU FOLSSLQJV DUWLFOHV ERRNV VWRUDJH DJUHHPHQWV DQG ELOOV VWRUDJH
ORFNHU NH\V DVVHW RZQHUVKLS UHFRUGV MRXUQDOV OHGJHUV ILQDQFLDOV EXGJHWV SURSRVDOV SODQV
FRQWUDFWV DJUHHPHQWV ELOOV RI VDOH GHOLYHU\ UHFRUGV LQYRLFHV UHFHLSWV GRFXPHQWDWLRQ RI
FRQYH\DQFHV GHHGV DQG RWKHU SDSHUV  7KHVH UHFRUGV PD\ EH LQ DQ\ IRUP VXFK DV SDSHU
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